                                                   Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 1 of 12

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                                               tl<                   =Wood                                                                                       pl•-•"
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                             DEFENDANTS
                        JEREMY IMPELLIZZERI                                                                                                PENNCRO ASSOCIATES, INC.

     (b) County of Residence of First Listed Plaintiff                                                                       County of Residence of First Listed Defendant
                             (EXCEPT IN US. PLAIN                                                                                                    (JN US. PLA!NT!FFC

                                                                                                                              NOTE         INT~N.pR~~~~~~?~~1V:JbUS~~~IC

      ( C)   Attorneys (Firm Name, Address, and Telephone                                                                     Attorneys (If Known)
                     BARSHAY SANDERS, PLLC
                     JOO Garden City Plaza, Ste 500, Garden City,                            NY ll530
          516 203-7600
II. BASIS OF JURISDI                                            (Place an "X" in One Box Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIES                                            (Place an "X" in One Box for Plain1iff
                                                                                                                  (For DiversityCmesOnly)                                                                 aniOne Boxfor Deferrlmt}
0 I          U.S. Government                                  ederal Question                                                                             PTF          DEF                                           PIF         DEF
              Plaintiff                                       (US. Government Not a Party)                        Citizen of This State                   0 I      0           Incorporated or Principal Place       0      4    0 4
                                                                                                                                                                                 of Business In This State

02          U.S. Government                            0 4   Diversity                                            Citizen of Another Stale                02           O 2     Incorporated and Principal Place          0          0 5
              Defendant                                       (Indicate Citizenship of Parties in Item Ill)                                                                      of Business In Another State

                                                                                                                  Citizen or Subject ofa                  0 3          0 3     Foreign Nation                            0     6    0 6
                                                                                                                      Forei n Coun
IV. NATURE OF SUIT                                 (Place an "X" in One Box Only)
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0 110 Insurance                                      PERSONAE INJURY                      PERSONAE INJURY         0 625 Drug Related Seizure of               o 422 Appeal 28 use 158       0 375 False Claims Act
0 120 Marine                                       IO 310 Airplane                   0 365 Personal Iajury -             Prol"'rty 21 USC 881                 0 423 Withdrawal              0 400 State Reapportionment
0 130 Miller Act                                    0 315 Airplane Product                   Product Liability    0 690 Other                                      28 use 151               0 410 Antitrust
0 140 Negotiable Instrument                               Liability                  0 36 7 Health Care/                                                                                    0 430 Banks and Banking
0 150 Recovery of Overpayment &                     0 320 Assault, Libel &                   Pharmaceutical                                              t10111PR6,.•>H1TYflUGHTSl!§l' IA 0 450 Commerce
       Enforcement of Judgment                            Slander                            Personal lnjwy                                              0 820 Copyrights                  , 0 Deportation
0 151 Medicare Act
0 152 Recovery of Defaulted
       Student Loans
                                                    0 330 Federal Employers'
                                                          Liability
                                                    0 340Marine
                                                                                             Product Liability
                                                                                     0 368 Asbestos Personal
                                                                                             Injury Product
                                                                                                                                                         0 830 Patent
                                                                                                                                                         0 840 Trademark                                     l
                                                                                                                                                                                                0 Racketeer Influenced and
                                                                                                                                                                                                   Corrupt Organizations
                                                                                                                                                                                         ~ • 4 0 Consumer Credit
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        (Excludes Veterans)                         0 345 Marine Product                     Liability                               <•oc.l@@   1 •.. 1
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0 153 Recovery of Overpayment                             Liability                   PERSONAL PROPERTY           0   710 Fair Labor Standards           0861HIA(1395ff)              .        50 Securities/Commodities/
        of Veteran's Benefits                       0 350 Motor Vehicle              0 370 Other Fraud                     Act                           0 862 Black Lung (923)                    Exchange
0 160 Stockholders' Suits                           0 355 Motor Vehicle              0 371 Truth in Lending       0   720 Labor/Management               0 863 DIWC/DIWW (405(g))           0 890 Other Statutory Actions
0 190 Other Contract                                      Product Liability          0 380 Other Personal                  Relations                     0 864 SSID Title XVI               0 891 Agricultural Acts
0 195 Contract Product Liability                    0 360 Other Personal                     Property Damage      0   740 Railway Labor Act              0 865 RSI (405(g))                 0 893 Environmental Matters
0 196 Franchise                                           Injwy                      0 385 Property Damage        0   751 Family and Medical                                                0 895 Freedom oflnformation
                                                    0 362 Personal Injury -                  Product Liability             Leave Act                                                               Act
                                                          Medical Maloractice                                     0   790 Other Labor Litigation                                            0 896 Arbitration
'•
              i.14 .E::PJ{@RER'ltY~,0. a~M@MIXlilefiHTS1.lllll\!J&' ;:elUS@NER*llJ!l.TITJ'O~S".?k                 0   791 Employee Retirement            @•••:EI)EMI.;iill~Stll'.11$'li@!k 0 899 Administrative Procedure
0    210 Land Condemnation                         0 440 Other Civil Rights             Habeas Corpus:                    Income Security Act            0 870 Taxes (U.S. Plaintiff               Act/Review or Apl"'al of
0    220 Foreclosure                               0 441 Voting                     0 463 Alien Detainee                                                         or Defendant)                     Agency Decision
0    230 Rent Lease & Ejectment                    0 442 Employment                 0 510 Motions to Vacate                                              0 871 IRS-Third Party              0 950 Constitutionality of
0    240 Torts to Land                             0 443 Housing/                             Sentence                                                          26 use 7609                        State Statutes
0    245 Tort Product Liability                           Accommodations            0 530 General
0    290 All Other Real Property                   0 445 Amer. w/Disabilities -     0 535 Death Penalty           U-81J!0fr!1HIMMIG]ilj\4f,l()~@.,llllllt
                                                                                                                                                 ,,,
                                                          Employment                   Other:                     0 462 Naturalization Application
                                                   0 446 Amer. w/Disabilities -     0 540 Mandamus & Other           0 465 Other Inunigration
                                                          Other                     0 550 Civil Rights               Actions
                                                   0 448 Education                  0 55 5 Prison Condition
                                                                                    0 560 Civil Detainee
                                                                                             Conditions of
                                                                                             Confinement

r:' ""OJl IGIN
     • I C ginal
                      (Place an "X" in One Box Only)
                             0 2 Removed from                            0 3 Remanded from                    0 4 Reinstated or             0 5 Transferred from               0 6 Multidistrict
        )      oceeding           State Court                                      Appellate Court                 Reopened                       Another District                    Litigation
                                                                                                                                                  (specijj;)


v                                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):                 15 USC §1692
 VI. CAUSE OF ACTION                                     Brief description of cause:
                                                                                                 Fair Debt Collection Practices Act Violation
                                                                                                                                                                                                            ~
VII. REQUESTED IN                                        J   CHECK IF THIS IS A CLASS ACTION                           DEMAND $1000.00                                         CHECK YES only r e : t e d in complaint:
     COMPLAINT:                                               UNDER RULE 23, F.R.Cv.P.                                                                                    JURY DEMAND:                       •     es 0 No
VIII. RELATED CASE (S)                                                                                                                                                         -·                        ~·

      IF ANY (See instructions):                                                                                                                                                                              TIEC 21 2015
DATE
              December 7, 2015
 FOR OFFICE USE ONLY
                                                                                                                                                                                                                             s.           •
     RECEIPT#                               AMOUNT                                           APPL YING IFP                                     JUDGE                                   MAG.JUDGE
                                      i
                                Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 2 of 12
                                          1i\
                                          !{~
                                                                 UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT oitPENNSYLVANIA -                          DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.
                        7 Shamrock Road. ROCKY POINT. New York 11778
Address of Plaintiff: ------------------------------------......--;o:l1-------11!.i:-"-+-~ili.-~I--



Place of Accident, Incident or Transaction: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                             (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning                     re of its stock?
      (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1 (a))                                 Yes   D    No   D!J

Does this case involve multidistrict litigation possibilities?                                                                     Yes
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date Terminated:


Civil cases are deemed related when yes is answered to any of the following questions:

I.     Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                  Yes D No D!J
2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
       action in this court?
                                                                                                                                  Yes D No D!J
3.     Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
       terminated action in this court?                                                                                            Yes   D    No   D!J
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                     Yes D No      D!J
CIVIL: (Place ./     in   ONE CATEGORY ONLY)
 A. Federal Question Cases:                                                                                B. Diversity Jurisdiction Cases:
 I.    D   Indemnity Contract, Marine Contract, and All Other Contracts                                     I. D     Insurance Contract and Other Contracts
 2.    0   FELA                                                                                             2. D     Airplane Personal Injury
2.     D   Jones Act-Personal Injury                                                                        3. D     Assault, Defamation
 4.    D Antitrust                                                                                          4. D     Marine Personal Injury
 5.    D   Patent                                                                                           5. D     Motor Vehicle Personal Injury
 6.    D   Labor-Management Relations                                                                       6. D     Other Personal Injury (Please specify)
 7.    D   Civil Rights                                                                                     7. D     Products Liability
 8.    D   Habeas Corpus                                                                                    8. D     Products Liability -      Asbestos
 9.    D   Securities Act(s) Cases                                                                          9. D     All other Diversity Cases
 I           ocial Security Review Cases                                                                             (Please specify)

             JI other Federal Question Cases
             lease specify) FDCPA 15 U.S.C. 1692

                                                                      ARBITRATION CERTIFICATION
                                                                         (Check Appropriate Category)
I,                                                          , counsel of record do hereby certify:
    D Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that tot best of my knowledge and belief, the
of $150,000.00 exclusive of interest and costs;
       D Relief other than monetary damages is sought.
DA TE:       December 7, 2015                                                                                                                314730
                                                          Atto       t-Law                                                          Attorney I.D.#
                                          NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.


I certify that, to my knowledge, the within case is not related to any case now pending or within one year             eviously terminated action in this court
except as noted above.

DATE:        December7,2015                                                                                                                  314730
                                                                                                                                         Attorney l.D.#


 CIV. 609 (5/2012)
               Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 3 of 12

                                  ITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                   CIVIL ACTION
Jeremy Impellizzeri

                               v.                                  NO.

Penncro Associates, Inc.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time
of filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the
reverse side of this form.) In the event that a defendant does not agree with the plaintiff regarding
said designation, that defendant shall, with its first appearance, submit to the clerk of court and
serve on the plaintiff and all other parties, a Case Management Track Designation Form
specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus -Cases brought under 28 U.S.C. § 2241 through§ 2255.                                  ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                      ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                               ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management
    by the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tragks.



  December 7, 2015                                                       PLAINTIFF

Date                                                                     Attorney for
  (516) 203-7600                                                         mpirillo@sanderslawpllc.com


Telephone                                                                E-Mail Address



(Civ. 660) 10/02




                                                                                                 DEC 21 2015.
             Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 4 of 12




 ARSHA Y SANDERS, PLLC
100 Garden City Plaza, Suite 500
Garden City, New York 11530
Tel: (516) 203-7600
Fax: (516) 706-5055
Email: ConsumerRights@BarshaySanders.com
Attorneys for Plaintiff
Our File No.: 109845

                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA



JEREMY IMPELLIZZERI,                                       Docket No:

                       Plaintiff,                          COMPLAINT
                                                                          15
                            vs.
                                                           JURY TRIAL DEMANDED
PENNCRO AS SOCIATES, INC.,

                      Defendant.


       JEREMY IMPELLIZZERI (hereinafter referred to as "Plaintiff'), by and through the
undersigned counsel, complains, states and alleges against PENNCRO AS SOCIATES, INC.
(hereinafter referred to as "Defendant"), as follows:
                                        INTRODUCTION
        1.      This action seeks to recover for violations of the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692, et seq., ("FDCPA").
                                    JURISDICTION AND VENUE
       2.       This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
and 15 U.S.C. § 1692k(d).
       3.       This Court has personal jurisdiction over Defendant because Defendant maintains
its principal place of business in Pennsylvania.
       4.       Venue is proper under 28 U .S.C. § 1391 (b) because Defendant resides in this
Judicial District and/or because a substantial part of the events or omissions giving rise to this
claim occurred in this Judicial District.



                                                   1
             Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 5 of 12




       5.        At all relevant times, Defendant conducted business within the State of
Pennsylvania.
                                              PARTIES

       6.        Plaintiff is an individual who is a citizen of the State of New York.
       7.        Plaintiff, a "consumer" as defined by 15 U.S.C. § 1692a(3), is allegedly obligated
to pay a debt.
        8.       On information and belief, Defendant's principal place of business is located in
Southhampton, Pennsylvania.
        9.       Defendant is regularly engaged, for profit, in the collection of debts allegedly
owed by consumers.
        10.      Defendant is a person who uses an instrumentality of interstate commerce or the
mails in a business the principal purpose of which is the collection of debts, or who regularly
collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
due another, and is therefore a "debt collector" as defined by 15 U.S.C. § 1692a(6).


                                          ALLEGATIONS

         11.     Plaintiffs alleged debt was primarily for personal, family or household purposes
and is therefore a "debt" as defined by 15 U.S.C. § 1692a(5).
         12.     Sometime after the incurrence of the debt, but before the initiation of this action,
Plaintiff is alleged to have fallen behind on payments allegedly owed on the alleged debt.
         13.     At a time known only to Defendant, Plaintiffs alleged debt was assigned or
otherwise transferred to Defendant for collection.
         14.     In its efforts to collect the alleged debt, Defendant contacted Plaintiff by written
correspondence. ("Exhibit 1. ")
         15.     Defendant's written correspondence to Plaintiff is a "communication" as defined
by 15 U.S.C. § 1692a(2).
         16.     As set forth in the following Counts, Defendant's communication violated the
FDCPA.




                                                   2
          Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 6 of 12




                                           FIRST COUNT
                                    Violation of 15 U.S.C. § 1692f
                              Disclosure of Plaintifrs Account Number

        17.       Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
        18.       15 U.S.C. § 1692f provides a debt collector may not use unfair or unconscionable
means to collect or attempt to collect any debt.
         19.      15 U.S.C. § 1692f(8) limits the language and symbols that a debt collector may
place on envelopes it sends to consumers.
        20.       15 U.S.C. § 1692f(8) prohibits a debt collector from using any language or
symbols on the envelope, other than the debt collector's address, when communicating with a
consumer by mail, except that a debt collector may place its business name on the envelope if
such name does not indicate that the debt collector is in the debt collection business.
        21.       15 U.S.C. § 1692f(8)'s prohibition applies to language and symbols both on the
envelope, and language and symbols visible through any glassine window of the envelope. See,
Douglass v. Convergent Outsourcing, 765 F.3d 299 (3rd Cir 2014).
        22.       15 U.S.C. § 1692f(8) prohibits a debt collector's disclosure of the debtor's account
number on the envelope. Id.
        23.       15 U.S.C. § 1692f(8) prohibits a debt collector's disclosure of the debtor's account
number by making such visible through any glassine window of the envelope. Id.
        24.       Defendant used an envelope with a glassine window in its mailing to Plaintiff.
        25.       Visible through the glassine window of the envelope was a bar code.
        26.       The bar code visible through the glassine window can be easily scanned by
anyone with a smartphone, as bar code scanning applications are easily accessible to the public
free of charge.
        27.       Defendant disclosed Plaintiff account number in its mailing to Plaintiff by making
such barcode visible through the glassine window of the envelope.
        28.       Defendant used language other than Defendant's address and business name, on
the envelope it sent to Plaintiff.
         29.      Defendant has violated § 1692f by using language other than Defendant's address
and business name on the envelope it sent to Plaintiff.
         30.      Defendant has violated § 1692f by disclosing Plaintiff account number in its



                                                    3
                         Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 7 of 12




               mailing to Plaintiff.



                                                           JURY DEMAND

                       31.        Plaintiff hereby demands a trial of this action by jury.

                                                       PRAYER FOR RELIEF
                       WHEREFORE, Plaintiff respectfully requests judgment as follows:

                             a.      Statutory damages against Defendant pursuant to 15 U.S.C. § 1692k of
                                      $1,000.00; and
                             b.      Plaintiffs attorneys' fees pursuant to 15 U.S.C. § 1692k; and
                             c.      Plaintiffs costs; together with
                             d.       Such other relief that the Court determines is just and proper.
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~      5~      DATED: December 7, 2015
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Io z                                                               elissa      Irillo, Esq.
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ID~(!)
                                                                        arden City Plaza, Suite 500
                                                                   arden City, New York 11530
                                                                 Tel: (516) 203-7600
                                                                 Fax: (516) 706-5055
                                                                 ConsumerRights@BarshaySanders.com
                                                                 Attorneys for Plaintiff
                                                                 Our File No.: 109845




                                                                    4
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       EXHIBIT 1
                                       Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 9 of 12
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       A Fl1V.'4N(JA£SIJ1ll•JC£$ ClJMIWNV

           PO Box 3003                                                                      NAME:                     Jeremey lmpellizzeri
           Phoenixville, PA 19460
                                                                                                                    .B29
                                            11111111111111111111                                                      AMERICAN HONDA FINANCE CORP
           Do not send correspondence to this address.
                                                                                             EGARDING: PAST DUE AUTO DEFICIENCY
           OFFICE HOURS: QION - THU: BAM - 9PM EST;                                                                  -77B
           FRI: BAM - SPM EST

           May 7, 2015
                                                                                                                                             $10,432.83
       i   ll1 l1 l1l1•lhllll lllhhl •1I1 Ill•11 luil ll'll llil111l •lh111l11I   sa1. 36



    I
                      Jeremey lmpellizzeri
                      7 Shamrock Rd
                      Rocky Point, NY 11778-8691




 Dear Jeremey lmpellizzeri:
 The above referenced debt has been placed with our office for collection.
 Please contact us at the number below to make arrangements for payment.
 Any payments made on this account should be made payable to AMERICAN HONDA FINANCE CORP and mailed to our
 office in the return envelope provided.
 Sincerely,
 Penncro Associates
 800-684-7620
 Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any portion
 thereof, this office will assume this debt is valid. If you notify this office in writing within 30 days from receiving this notice,
 that you dispute the validity of this debt or any portion thereof, this office will obtain verification of the debt or obtain a copy
 of a judgment, if one exists, and mail you a copy of such judgment or verification. If you request this office in writing within
 30 days after receiving this notice, this office will provide you with the name and address of the original creditor, if different
 from the current creditor.
 This communication is from a debt collector. This is an attempt to collect a debt and any Information obtained will be used
 for that purpose.




                                                       SEE REVERSE SIDE FOR IMPORTANT INFORMATION
.... _________________ Please detach here and enclose bottom portion with your payment ··--·----------------


 NAME:      Jeremey lmpellizzeri                                                             AMOUNT ENCLOSED: $_ _ _ _ _ __
 CLAIM #:   .829
 CREDITOR:  AMERICAN HONDA FINANCE CORP
                                                                                             Mail all other correspondence to:
 REGARDING: PAST DUE AUTO DEFICIENCY
                                                                                             95 James Way, Suite 113
 ACCOUNT#: - 7 7 8                                                                           Southampton, PA 18966-3847
 FOR QUESTIONS CALL: 800-684-7620


                                              $10,432.83                                     MaU payment to:
                                                                                             Penncro Associates, Inc.
   Please check here if your address or phone number has changed.                            PO Box 1878
D Please Indicate changes below.                                                             Southampton, PA 18966-9998
                                                                                             1... 111 .. 1.1.1 ... 11 ... 11 •• 11 ...... 1111 ... 1•• 1.1 ... 11 .. 1.. 11 .. 1
ADDRESS _ _ _ _~----~-----
CITY I STATE I ZIP _ _ _ _ _ _ _ _ _ _ __

PHONE--------------~
             9                                                                                                                                                                     657 -1200-36
                     Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 10 of 12

We are required under certain State and Local laws to notify consumers of those states or localities of their rights. The
following does not contain a complete list of the rights consumers have under Federal, State or Local laws:

NEW YORK

Prohibited Actions Notice
Debt collectors, in accordance with the Fair Debt Collection Practices Act, are prohibited from engaging in abusive,
deceptive, and unfair debt collection efforts, including but not limited to:                         "
(i) the use or threat of violence;
(ii) the use of obscene or profane language; and
(iii) repeated phone calls made with the intent to annoy, abuse, or harass.

Exempt Income Notice
If a creditor or debt collector receives a money judgment against you in court, state and federal laws may prevent the
following types of income from being taken to pay the debt:
1. Supplemental security income, (SSI);
2. Social security;
3. Public assistance (welfare):
4. Spousal support, maintenance (alimony) or child support;
5. Unemployment benefits;
6. Disability benefits;
7. Workers' compensation benefits;
8. Public or private pensions;
9. Veterans' benefits;
10. Federal student loans, federal student grants, and federal work study funds; and
11. Ninety percent of your wages or salary earned in the last sixty days.

New York City Department of Consumer Affairs license numbers 1081441 and 1379313.
                                  Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 11 of 12
       r~fs~fti<J.
       A '1NANCfAL SDJJICU COMl'ANr
                                                                                                                             STATEMENT OF ACCOUNT
       PO Box 3003                                                                                       NAME:                  Jeremey lmpellizzeri
       Phoenixville, PA 19460                                                                            CLAIM#:              m>s29
                                                      111111111111                                                              AMERICAN HONDA FINANCE CORP
       Do not send correspondem.-e to this address.
                                                                                                                                PAST DUE AUTO DEFICIENCY
       OFFICE HOURS: MON - THU: SAM - 9PM EST;                                                                                  -778
       FRI: SAM - 5PM EST

       Jun 15, 2015
                                                                                                                                                   $10,432.S3

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   I
                  Jeremey lmpellizzerl
                  7 Shamrock Rd
                  Rocky Point, NY 1177S-S691




 Dear Jeremey lmpellizzeri:
This account Is eligible for a reduced settlement. Please call our office at the phone number listed below in order to take
advantage of this settlement opportunity.

Sincerely,
Penncro Associates
S00-684-7620
This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will be used
for that purpose.




 New York City· New York City Department of Consumer Affairs license numbers 1081441 and 1379313


------------------- Please detach here and enclose bottom portion with your pa:Yment -------------------
                                                                          I            "I"'

                       STATEMENT OF' ACCOUN'T                                          '
 NAME:                    Jeremey lmpellizzeri                                                             AMOUNT ENCLOSED: $._ _ _ _ _ __
 CLAIM #:               llos29
CREDITOR:  AMERICAN HONDA FINANCE CORP
                                                                                                           Mail all other correspondence to:
REGARDING: PAST DUE AUTO DEFICIENCY
                                                                                                           95 James Way, Suite 113
ACCOUNT#: ~77S                                                                                             Southampton, PA 1S966-3847
FOR QUESTIONS CALL: 800-684-7620


                                                $10,432.S3                                                 Mall payment to:
                                                                                                           Penncro Associates, Inc.
   Please check here If your address or phone number has changed.                                          PO Box 1878
D Please Indicate changes below.                                                                           Southampton, PA 18966-9998
NAME~------~~-----~-~
ADDRESS   _________________                                          ~~-~
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CITY I STATE I ZIP _ _ _ _ _ _ _ _ _ _ __
PHONE~--------~-~~-~
          7                                                                                                                                                                        667-1200-318
Case 2:15-cv-06739-AB Document 1 Filed 12/21/15 Page 12 of 12
